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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )                   8:15CR61
                       Plaintiff,                )
                                                 )
       vs.                                       )                    ORDER
                                                 )
MATTHEW M. LEONARD and                           )
DAVID E. LEONARD,                                )
                                                 )
                       Defendants.               )

       This matter is before the court on the motions for an extension of time by defendant
Matthew M. Leonard (Filing No. 27) and defendant David E. Leonard (Filing No. 28). Defendants

seek an extension in which to file pretrial motions in accordance with the progression order (Filing
No. 14). Defendants' counsel represents that counsel for the government has no objection to the

motions. Upon consideration, the motions will be granted.



       IT IS ORDERED:

       Defendants' motions for an extension of time (Filing Nos. 27 and 28) are granted. The

defendants are given until on or before April 28, 2015, in which to file pretrial motions pursuant

to the progression order. The ends of justice have been served by granting such motions and

outweigh the interests of the public and the defendant in a speedy trial. The additional time

arising as a result of the granting of the motions, i.e., the time between March 25, 2015, and

April 28, 2015, shall be deemed excludable time in any computation of time under the

requirement of the Speedy Trial Act for the reason defendants' counsel require additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the

novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).



       DATED this 25th day of March, 2015.

                                                     BY THE COURT:

                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
